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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE:
SEIBERT, JOHN STEWART CASE NO. 18-30975-KKS
SEIBERT, ALICE LEIGH CHAPTER 7

Debtor(s).
|

 

NOTICE OF INTENT TO SELL REAL PROPERTY

TO: Debtor(s), Creditors, and Parties in Interest

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed.
R. Bankr.P. 9006(f).

If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, Mary W. Coldén, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

 

 

 

NOTICE IS HEREBY GIVEN that the trustee/debtor-in-possession intends
to sell the following property of the estate of the debtor(s), under the terms
and conditions set forth below.

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1. Description of property:
Interest in real property located at 274 Lee County Rd 2170, Phenix,
AL 36870, identified as Lee County Parcel ID No. 43 24 01 12 0 004
235.000, and described as:

Lot 89 of Autumn Creek Subdivision, located in Section 12, Township
17N, Range 29E, Lee County, Alabama, as shown upon a final plat of
said subdivision by Barrett-Simpson, Inc., filed in Plat Book 30 Page
30, in the Office of the Judge of Probate of Lee County, Alabama.

Subject to all valid and enforceable easements and restrictions of
record.

This being property conveyed to Kimberly Corbett Culpepper by deed
dated 11/6/08, recorded in Vol. 2342, Page 248, Lee County Probate
Records.

2. Manner of Sale: Private ( X )* Public Auction (_ )

3. Terms of Sale: (include purchaser, if known, price, price terms, whether
or not sale is free and clear of liens, names and addresses of lienors,
and all other pertinent information)

a. Private sale to John Stewart Seibert and Alice Leigh Seibert
Address: 274 Lee County Rd 2170
Phenix City, AL 36870

b. Subject to any and all liens, encumbrances and interests.

c. Selling price and terms as follows: $3,000.00 as is in its current
condition with full right of inspection. Purchaser is responsible for all
inspection fees. Seller does not warrant condition.

Purchaser price to be paid in twelve (12) monthly installments of
$250.00 beginning on September 15, 2019 and monthly thereafter
until paid in full.

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d. Additional Terms: Closing will take place within thirty (30) days of
issuance of a Court Order authorizing the sale. No seller's property
disclosure will be provided. The property is sold as is where is.
Purchaser shall receive a Trustee’s Deed.

Purchaser has agreed to pay documentary stamp taxes on the deed,
recording fees for bankruptcy documents, and property taxes.
Property taxes will not be pro-rated at closing. Seller will be
responsible for recording the Deed.

e. The proceeds from the sale shall be disbursed to the Estate.

4, Lienors and additional co-owner(s):
Freedom Mortgage Corporation
Attn: Bankruptcy
PO Box 50428
Indianapolis, IN 46250

Purchaser is buying subject to any and all liens, encumbrances, and
interests. Time is of the essence for Buyer, so the Trustee is filing this
Notice contemporaneously with a Motion to Sell Subject to Any and All
Liens, Encumbrances and Interests pursuant to Section 363 of the
Bankruptcy Code.

The purchase price was/were established by review of the schedules, any
additional documents and testimony provided by parties, negotiated in

good faith within the principles of good business judgment with the relevant
parties.

*(Applicable to private sales only) The trustee will entertain any higher bids
for the purchase of the assets of the debtor(s) which the trustee proposes
to sell. Such bids must be in excess of 10% more than the original bid and
must be in writing and accompanied by a deposit of 20% of the proposed
higher purchase price. Any higher bid must be received (with the
applicable deposit) by the trustee at the address listed below no /ater than
the close of business 15 days from the date of this Notice.

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IF NO HIGHER BIDS ARE RECEIVED TIMELY, THE SALE WILL
PROCEED AS SET FORTH IN THIS NOTICE. IF HIGHER BID(S) ARE
RECEIVED TIMELY, THE TRUSTEE SHALL CONDUCT A TELEPHONIC
OR IN-COURT AUCTION BETWEEN THE BIDDERS WHOSE BIDS ARE
NOTICED ABOVE AND ARE RECEIVED TIMELY INACCORDANCE
WITH THIS NOTICE. ANY BIDDER THAT DOES NOT PARTICIPATE IN
ANY AUCTION SCHEDULE IN ACCORDANCE WITH THIS NOTICE IS
DISQUALIFIED.

NOTICE IS HEREBY GIVEN that all objections to the same must
state the basis for the objection. If no objection is filed, the sale described
above will take place.

 

DATED: August 14, 2019 /si Mary W. Colon
MARY W. COLON
Chapter 7 Trustee

Smith, Thompson, Shaw, et al
P.O. Box 14596

Tallahassee, FL 32317
Telephone No.: (850) 241-0144
Facsimile: (850) 702-0735
Florida Bar No. 0184012
trustee@marycolon.com

CERTIFICATE OF SERVICE

| HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE
FOREGOING has been furnished by first class U.S. Mail with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com on August 14, 2019.

/s/ Mary W. Colon
MARY W. COLON

 

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
IN RE: SEIBERT, JOHN STEWART CASE NO: 18-30975-KKS
SEIBERT, ALICE LEIGH DECLARATION OF MAILING
CERTIFICATE OF SERVICE
Chapter: 7

 

 

On 8/14/2019, I did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL REAL PROPERTY
MOTION TO SELL REAL PROPERTY SUBJECT TO ANY AND ALL LIENS, ENCUMBRANCES, AND INTERESTS

CHAPTER 7 TRUSTEE'S MOTION TO APPROVE COMPROMISE AND SETTLEMENT BETWEEN THE TRUSTEE AND
DEBTOR(S)

to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

| caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr,P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.

DATED: 8/14/2019

isi Mary W. Colon, Chapter 7 Trustee
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
850 241 0144
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
IN RE: SEIBERT, JOHN STEWART CASE NO: 18-30975-KKS
SEIBERT, ALICE LEIGH CERTIFICATE OF SERVICE
DECLARATION OF MAILING
Chapter: 7

 

On 8/14/2019, a copy of the following documents, described below,
NOTICE OF INTENT TO SELL REAL PROPERTY
MOTION TO SELL REAL PROPERTY SUBJECT TO ANY AND ALL LIENS, ENCUMBRANCES, AND INTERESTS

CHAPTER 7 TRUSTEE'S MOTION TO APPROVE COMPROMISE AND SETTLEMENT BETWEEN THE TRUSTEE AND DEBTOR
(S)

were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that | have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 8/14/2019

is

Jay S. Jump

BK Attorney Services, LLC

d/b/a certificateofservice.com, for
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO

LABEL MATRIX FOR LOCAL NOTICING
11293
CASE 18-30975-KKS
NORTHERN DISTRICT OF FLORIDA
PENSACOLA
WED AUG 14 11-40-00 EDT 2019

HYUNDAI MOTOR FINANCE
PO BOX 20809
FOUNTAIN VALLEY CA 92728-0809

REMAX BY THE SEA
2395 W COUNTY HWY 30A
SANTA ROSA BEACH FL 32459-5166

CREDITORS BANKRUPTCY SERVICE
PO BOX 800849
DALLAS TX 75380-0849

BLANCA PEAK INPATIENT SVCS LLC
PO BOX 80141
PHILADELPHIA PA 19101-1141

CHOCTAWHATCHEE ELECTRIC COOPERATIVE
INC

PO BOX 512

DEFUNIAK SPRINGS FL 32435-0512

CITIBANKBEST BUY

ATTN BANKRUPTCY

PO BOX 790441

ST LOUIS MO 63179-0441

CREDIT FIRST NATIONAL ASSOCIATION
ATTN BK CREDIT OPERATIONS

PO BOX 81315

CLEVELAND OH 44181-0315

EDFINANCIAL SERVICES
126 N SEVEN OAKS OR
KNOXVILLE TN 37922-2359

BK GLOBAL REAL ESTATE SERVICES
1095 BROKEN SOUND PARKWAY SUITE 200
BOCA RATON FL 33487-3503

LAKEVIEW LOAN SERVICING LLC

CO LESLIE RUSHIN

QUINTAROS PRIETO WOOD BOYER PA
1475 CENTREPARK BLVD STE 130
WEST PALM BEACH FL 33401-7424

SANTANDER CONSUMER USA INC OBA
CHRYSLER

CO CHAD D HECKMAN

PO BOX 12492

TALLAHASSEE FL 32317-2492

ADVANCED CALL CENTER TECHNOLOGIES LLC
PO BOX 9091
JOHNSON CITY TN 37615-9091

CAPITAL ONE

ATTN BANKRUPTCY

PO BOX 30285

SALT LAKE CITY UT 84130-0285

CITIBANK NA
6716 GRADE LN BLG 9 STE 910PY DEPT
LOUISVILLE KY 40213-3410

CITIBANKTHE HOME DEPOT

ATTN RECOVERYCENTRALIZED BANKRUPTCY
PO BOX 790034

ST LOUIS MO 63179-0034

DELTA DENTAL OF CALIFORNIA
FEDERAL GOVERNMENT PROGRAMS
PO BOX 537008

SACRAMENTO CA 95853-7008

EDFINANCIAL SERVICES
ATTN BANKRUPTCY

PO BOX 36008

KNOXVILLE TN 37930-6008

FREEDOM MORTGAGE CORP
CO JESSICA HICKS

PO BOX 800

TAMPA FL 33601-0800

PRA RECEIVABLES MANAGEMENT LLC
PO BOX 41021
NORFOLK VA 23541-1021

LAKEVIEW LOAN SERVICING LLC

CO LESLIE RUSHING ESO
QUINTAIROS PRIETO WOOD BOYER PA
1475 CENTREPARK BLVD SUITE 130
WEST PALM BEACH FL 33401-7424

ARMY EMERGENCY RELIEF
2530 CRYSTAL DRIVE
SUITE 13161

13TH FLOOR

ARLINGTON VA 22202-3950

CHASE CARD SERVICES
CORRESPONDENCE DEPT

PO BOX 15298

WILMINGTON DE 19850-5298

CITIBANK NA
701 EAST 60TH STREET NORTH
SIOUX FALLS SD 57104-0493

CITY OF FREEPORT

112 HIGHWAY 20 WEST

PO BOX 339

FREEPORT FL 32439-0339

DIRECTV LLC

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 5008

CAROL STREAM IL 60197-5008

EDFINANCIAL ON BEHALF OF US DEPT OF
EDUCATI

120 N SEVEN OAKS DR

KNOXVILLE TN 37922-2359
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL

PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

FLAGSTAR BANK

ATTN BANKRUPTCY

5151 CORPORATE DRIVE
TROY MI 48098-2639

FREEDOM MORTGAGE CORPORATION
105000 KINCAID DR
FISHERS IN 46037

GENPACT SERVICES LLC
PO BOX 1969
SOUTHGATE MI 48195-0969

LOANCARE LLC
3637 SENTARA WAY
VIRGINIA BEACH VA 23452-4262

NAVY FEDERAL CREDIT UNION
ATTN BANKRUPTCY

PO BOX 3000

MERRIFIELD VA 22119-3000

SACRED HEART HEALTH SYSTEM
ATTN 9848343C

PO BOX 14099

BELFAST ME 04915-4034

SANTANDER CONSUMER USA
ATTN BANKRUPTCY

PO BOX 961245

FORT WORTH TX 76161-0244

SYNCHRONY BANKCARE CREDIT
950 FORER BLVD
KETTERING OH 45420-1469

SYNCHRONY BANKOLD NAVY
ATTN BANKRUPTCY DEPT
PO BOX 965060

ORLANDO FL 32896-5060

FORT WALTON BEACH MEDICAL CENTER

1000 MARWALT DRIVE

FORT WALTON BEACH FL 32547-6795

FREEDOM MORTGAGE CORPORATION
ATTN BANKRUPTCY

PO BOX 50428

INDIANAPOLIS IN 46250-0401

HYUNDAI MOTOR FINANCE

ATTN BANKRUPTCY

PO BOX 20823

FOUNTAIN CITY CA 92728-0829

NATIONWIDE CREDIT INC
PO BOX 10354
DES MOINES IA 50306-0354

PMI CHATTAHOOCHEE VALLEY
PROPERTY MANAGEMENT

233 12TH ST

SUITE 743

COLUMBUS GA 31901-2446

SACRED HEART HEALTH SYSTEM
PO BOX 2728
PENSACOLA FL 32513-2728

SOUTH WALTON FIRE DISTRICT
PO BOX 1105
TARPON SPRINGS FL 34688-1105

SYNCHRONY BANKCARE CREDIT
ATTN BANKRUPTCY DEPT

PO BOX 965061

ORLANDO FL 32896-5061

SYNCHRONYBANKNAUTILUS
ATTN BANKRUPTCY

PO BOX 965060
ORLANDO FL 32896-5060

FORT WALTON BEACH MEDICAL CENTER
PO BOX 740771
CINCINNATI OH 45274-0771

GATESTONE CO INTERNATIONAL INC
465 N 3RD ST
PHOENIX AZ 85004

KINETIC CREDICT UNION
ATTN BANKRUPTCY

PO BOX 9818

COLUMBUS GA 31908-0818

NAVY FEDERAL CREDIT UNION
820 FOLLIN LANE SE
VIENNA VA 22190-4907

PYOD LLC

RESORGENT CAPITAL SERVICES
PO BOX 19008

GREENVILLE SC 29602-9008

SACRED HEART HOSPITAL EMERALD COAST
PO BOX 2488
PENSACOLA FL 32513-2488

SYNCHRONY BANKAMAZON
ATTN BANKRUPTCY DEPT
PO BOX 965060

ORLANDO FL 32896-5060

SYNCHRONY BANKLOWES
ATTN BANKRUPTCY DEPT
PO BOX 965060
ORLANDO FL 32896-5060

SYNCHRONYBANKROOMS TO GO
ATTN BANKRUPTCY

PO BOX 965060

ORLANDO FL 32896-5060
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PARTIES DESIGNATED AS "EXCLUDE"

WERE NOT SERVED VIA USPS FIRST CLASS MAIL

PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

USAA FEDERAL SAVINGS BANK
ATTN BANKRUPTCY

10750 MCDERMOTT FREEWAY
SAN ANTONIO TX 78288-1600

VOLKSWAGEN CREDIT INC
ATTN BANKRUPTCY

PO BOX 3

HILLBORO OR 97123-0003

ALICE LEIGH SEIBERT
674 WATERVIEW COVE DRIVE
FREEPORT FL 32439-2851

NATASHA Z@ REVELL

ZALKIN REVELL PLLC

WATERSIDE BUSINESS CENTER

2441 US HIGHWAY 98W STE 109
SANTA ROSA BEACH FL 32459-5386

UNITED STATES TRUSTEE
110 E PARK AVENUE

SUITE 128

TALLAHASSEE FL 32301-7728

WELLS FARGO BANK NA

WELLS FARGO HOME MORTGAGE AMERICAS
SERVICING

ATTN BANKRUPTCY DEPT MAC X7801-014
3476 STATEVIEW BLVD

FORT MILL SC 29715-7203

DEBTOR

JOHN STEWART SEIBERT
674 WATERVIEW COVE DRIVE
FREEPORT FL 32439-2851

TERESA M DORR

ZALKIN REVELL PLLC

2441 US HIGHWAY 98 SUITE 109
SANTA ROSA BEACH FL 32459-5386

VERIZON

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 4457

HOUSTON TX 77210-4457

WHITE WILSON MEDICAL CENTER
PO BOX 316445
TAMPA FL 33631-3645

MARY W COLON
PO BOX 14596
TALLAHASSEE FL 32317-4596
